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 1
                                                                                  The Honorable Benjamin H. Settle
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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE
 9
     COMMANDER EMILY SHILLING, et al.,
10
                                 Plaintiffs,                           Case No. 2:25-cv-00241-BHS
11                      v.

12   DONALD J. TRUMP, in his official capacity as                      DECLARATION OF YVETTE
     President of the United States, et al.,                           BOURCICOT IN SUPPORT OF
13                                                                     PLAINTIFFS’ MOTION FOR
                                 Defendants.                           PRELIMINARY INJUNCTION
14

15              I, Yvette Bourcicot, declare as follows:

16              1.     I am over 18 years of age, of sound mind, and in all respects competent to

17   testify.

18              2.     I have actual knowledge of the matters stated herein. If called to testify in this

19   matter, I would testify truthfully and competently as to the matters stated herein.

20              3.     I served as the Acting Assistant Secretary of the Army for Manpower and Reserve

21   Affairs from January 18, 2022, to December 23, 2022, and as Principal Deputy Assistant

22   Secretary of the Army for Manpower and Reserve Affairs from December 23, 2022 to January

23   20, 2025. In those roles, I managed manpower, personnel, and Reserve Component affairs for the

24   Department of the Army and advised the Secretary of the Army on matters of policy and

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 1   performance oversight. As a former Department of Defense official, Department of the Army

 2   official, and Air Force veteran, I can attest that personnel policies must be based on merit and

 3   objective criteria to promote readiness and unit cohesion.

 4                                      PROFESSIONAL BACKGROUND

 5            4.       I attended Princeton University on an Air Force Reserve Officer Training Corps

 6   scholarship and obtained an undergraduate degree in English literature in 2000. I later attended

 7   Georgetown University Law Center on an Air Force scholarship, earning a Juris Doctor degree

 8   in 2008, having focused on public international law and national security law.

 9            5.       From May of 2000 to December of 2010, I served as an officer in the U.S. Air

10   Force in various positions, culminating in my service as a Judge Advocate (military attorney). I

11   later ran my own law practice from March of 2011 to September of 2012, specializing in family

12   law, criminal law, military justice, and administrative law.

13            6.       From September of 2012 to July of 2014, I served as Special Assistant to the

14   General Counsel of the Army, providing legal advice to the General Counsel, the Secretary of

15   the Army, and Army staff on issues including the Army’s response to the Washington Navy

16   Yard shooting, accommodating transgender prisoner populations, updating background check

17   procedures for Army Child Development Center workers, compliance with e-discovery

18   requirements, coordinating an enterprise-wide review of Army Medicine, and reforming the

19   Army Behavioral Health system.

20            7.       Following this work, I was asked to join a working group in 2015 studying

21   whether and how transgender individuals could serve in the military (the “Working Group”) as a

22   subject matter expert. The Working Group brought together representatives from all branches of

23   the military, including the Surgeons General from each branch. The Working Group also

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 1   received extensive input from subject matter experts and members of the transgender

 2   community.

 3            8.       From July of 2014 to December of 2016, I served as Senior Advisor for

 4   International Humanitarian Policy in the Office of the Under Secretary of Defense (Policy) at the

 5   Department of Defense. In December of 2016, I became an Associate Deputy General Counsel in

 6   the Office of Legal Counsel, Department of Defense, advising on foreign and international

 7   litigation, matters pending before the U.S. Supreme Court, and litigation risk associated with

 8   personnel policies.

 9            9.       From February of 2018 to January of 2022, I worked in the private sector, filling a

10   number of policy and communications roles at technology firms, including Facebook, Airbnb,

11   and Match Group.

12            10.      In January of 2022, I returned to the Department of the Army where I served as

13   Acting Assistant Secretary for Manpower and Reserve Affairs and Principal Deputy Assistant

14   Secretary for Manpower and Reserve Affairs. I advised the Secretary of the Army on matters

15   including human capital, training, readiness, mobilization, military health policies, force

16   structure, manpower management, equal opportunity, recruiting, marketing, and other critical

17   matters.

18                                                   THE ARMY

19            11.      The United States Army is the largest of the service branches of the United States

20   Armed Forces and performs land-based military operations. The Department of the Army is one

21   of the three military departments of the DoD. The Army has an annual budget of more than

22   $185.9 billion. For fiscal year 2025, the projected end strength for the Active Army is 442,300

23   soldiers, with an additional 325,000 soldiers in the Army National Guard, and 175,800 in the

24   United States Army Reserve, for a total of 943,100. The Army’s command structure includes

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 1   four Army Commands, nine Army Service Component Commands, and thirteen Direct

 2   Reporting Units, operating across the United States and around the world.

 3            12.      The Army’s core mission is to fight and win our Nation’s wars by providing

 4   prompt, sustained land dominance across the full range of military operations and spectrum of

 5   conflict in support of combatant commanders. It does this by executing statutory directives,

 6   including organizing, equipping, and training forces for the conduct of prompt and sustained

 7   combat operations on land, and by accomplishing missions assigned by the President, Secretary

 8   of Defense, and combatant commanders.

 9            13.      The Army is the most formidable ground combat force on earth and one of the

10   largest employers in the United States. The Army’s continued excellence in executing its many

11   missions is largely due to deliberate investments in soldier training, equipping, and leader

12   development. Soldiers receive training at the highest level, not only in the classroom, but also

13   through rigorous instruction under intense pressure and realistic battlefield conditions. Many

14   Army personnel are employed in highly technical roles that require lengthy and expensive

15   specialized training. Particularly in light of these investments in personnel, recruitment and

16   retention of capable and qualified soldiers is crucial to Army readiness.

17   THE WORKING GROUP AND DEVELOPMENT OF DOD EQUAL SERVICE POLICY

18            14.      On July 28, 2015, after consultations with the secretaries of the military

19   departments, Secretary of Defense Ashton Carter directed Brad Carson, Acting Undersecretary

20   of Defense for Personnel and Readiness, to convene a Working Group to study the policy and

21   readiness implications of allowing transgender persons to serve in the armed forces. Shortly after

22   Brad Carson’s directive, I joined the Working Group as a subject matter expert. Initially, the

23   Working Group was asked to begin with the presumption that transgender individuals could

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 1   serve unless objective, practical impediments were identified, and to develop an implementation

 2   plan that addressed those issues with the goal of maximizing military readiness.

 3            15.      The Working Group’s process was extremely rigorous. We considered

 4   information and presentations from a variety of sources, including medical and other experts,

 5   drawn from both within and outside of the Department of Defense; senior uniformed officers and

 6   senior civilian officers from each military department; senior military personnel who supervised

 7   transgender service members; and transgender people on active duty. We also drew specific

 8   medical input from Surgeons General from each of the Armed Service branches.

 9            16.      One of the many sources that the Working Group relied upon was the RAND

10   Report, Assessing the Implications of Allowing Transgender Personnel to Serve Openly, which

11   the DoD commissioned in 2016. RAND is a non-profit institution, which seeks to make its

12   research freely and readily available to the public. The research provided in RAND’s

13   publications is held to high-quality peer-review standards for objective analysis. The RAND

14   Report reviewed the relevant scholarly literature and empirical data, including the extensive

15   medical literature, actuarial data, and research and reports from the then-eighteen other countries

16   that permitted service by transgender personnel. The RAND report found that the military’s

17   costs, readiness, and unit cohesion would not be impacted by allowing transgender

18   servicemembers to serve equally in the Armed Forces. A true and correct copy of the RAND

19   Report is attached as Exhibit A.

20            17.      In consideration of the RAND Report’s empirical findings, along with the

21   multitude of opinions from military and civilian personnel, the Working Group concluded that

22   transgender individuals who meet the standards for military service should be permitted to serve.

23   Accordingly, Secretary of Defense Carter issued Directive-type Memorandum (DTM) 16-005,

24   entitled “Military Service of Transgender Service Members” (“DTM 16-005”), which required

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 1   the Secretaries of the Military Departments, including the Army, to implement the Working

 2   Group’s equal service policy. The Army implemented two Directives: 2016-30 and 2016-35,

 3   which applied to all personnel in the Active Army, U.S. Army Reserve, Army National Guard,

 4   and Army National Guard of the United States. Directive 2016-30 disallowed discrimination

 5   based on gender identity and stated, “The Army is open to all who can meet the standards for

 6   military service and remains committed to treating all Soldiers with dignity and respect.”

 7   Meanwhile, Directive 2016-35 provided policies and standards for transgender soldiers to obtain

 8   transition-related medical care.

 9                                        THE 2021 AUSTIN POLICY

10            18.      On January 25, 2021, President Joseph R. Biden replaced the first Trump

11   Administration’s restrictive ban with Executive Order (“EO”) 14004, entitled Enabling All

12   Qualified Americans To Serve Their Country in Uniform. The EO directed the Secretary of

13   Defense and Secretary of Homeland Security “to ensure that all transgender individuals who

14   wish to serve in the United States military and can meet the appropriate standards shall be able to

15   do so openly and free from discrimination.” The EO relied on “substantial evidence that allowing

16   transgender individuals to serve in the military does not have any meaningful negative impact on

17   the Armed Forces,” including “a meticulous, comprehensive study requested by the Department

18   of Defense,” 2018 testimony by “the then-serving Chief of Staff of the Army, Chief of Naval

19   Operations, Commandant of the Marine Corps, and Chief of Staff of the Air Force [who] all

20   testified publicly to the Congress that they were not aware of any issues of unit cohesion,

21   disciplinary problems, or issues of morale resulting from open transgender service,” and a

22   statement by a “group of former United States Surgeons General . . . that ‘transgender troops are

23   as medically fit as their non- transgender peers and that there is no medically valid reason—

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 1   including a diagnosis of gender dysphoria—to exclude them from military service or to limit

 2   their access to medically necessary care.”

 3            19.      On April 30, 2021, the DoD implemented this policy through the issuance of DoD

 4   Instruction 1300.28, entitled In-Service Transition for Transgender Service Members (“DoDI

 5   1300.28” or “the Austin Policy”), which applies to all military departments. This guidance

 6   authorizes “service by transgender persons who are subject to the same high standards and

 7   procedures as other Service members with regard to medical fitness for duty, physical fitness,

 8   uniform and grooming standards, deployability, and retention is consistent with military service

 9   and readiness.”

10            20.      To implement DoDI 1300.28, the Secretary of the Army issued Army Directive

11   2021-22 (Army Service by Transgender Persons and Persons With Gender Dysphoria) (the

12   “Policy Memorandum”).

13            21.      Under the policy, a transgender service member who wished to transition during

14   service was required to first make a request to their brigade commander. Those requests were

15   routed through several offices within the Army before coming to Manpower and Reserve Affairs

16   for final review. As Acting Assistant Secretary for Manpower and Reserve Affairs, I reviewed

17   each request and made a recommendation on whether to grant the service member’s request.

18   Subsequently, as Principal Deputy Assistant Secretary for Manpower and Reserve Affairs, I was

19   notified of each request. Because the transgender population makes up a very small fraction of

20   total Army military personnel, I only reviewed one or two such requests per quarter. To my best

21   recollection, every request I received met the requirements of the policy, and every requesting

22   service member met the necessary standards for serving, so I never had cause to recommend that

23   a request be denied.

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 1            22.      The Policy Memorandum states that “[t]he Army is open to all who can meet the

 2   standards for military service and readiness. It remains committed to treating all Soldiers with

 3   dignity and respect while ensuring good order and discipline, including allowing transgender

 4   Soldiers to serve openly . . . .” For any standard, requirement, or policy that “appl[ies] differently

 5   to Soldiers according to gender, the Army recognizes a Soldier’s gender by the Soldier’s gender

 6   marker in the Defense Enrollment Eligibility Reporting System (DEERS).”

 7            23.      The Policy Memorandum specifies that personnel will either be accessed or

 8   commissioned in accordance with medical standards issued by the Department of the Army and

 9   the DoD.

10            24.      The Policy Memorandum also confirms that “[n]o otherwise qualified Soldier

11   may be involuntarily separated, discharged, or denied reenlistment or continuation of service, or

12   otherwise subjected to adverse action or treatment, solely on the basis of gender identity.”

13   Additionally, for any “whose fitness for duty or ability to serve is adversely affected by a

14   medical condition or medical treatment related to gender identity or gender transition,” the

15   Policy Memorandum states that they “should be treated, for purposes of separation and retention,

16   just as any other Soldier whose fitness for duty or ability to serve is similarly affected by non-

17   gender identity or gender transition reasons.”

18            25.      In implementing the Policy Memorandum, I observed no negative impact from

19   permitting transgender service in the Army or on our military capabilities.

20            26.      The Austin Policy fosters trust among team members and advances unit cohesion.

21   This unit cohesion is vital in protecting America’s national security interests around the world. In

22   order to ensure America’s Army is effective, we need to be able to be seen as a top-choice

23   employer in a highly competitive market for talent. Any organization that American youth

24   perceive as discriminatory will be at a competitive disadvantage in this contest. The Austin

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 1   Policy further enables our military to retain highly trained and specialized service members by

 2   providing an opportunity to progress and develop leadership and other skills within the military.

 3            27.      In my positions as Acting Assistant Secretary of the Army for Manpower and

 4   Reserve Affairs and Principal Deputy Assistant Secretary of the Army for Manpower and

 5   Reserve Affairs, I would have been aware of any issues arising from the Austin Policy, and

 6   responsible for resolving them. However, in all of my time serving in these roles I heard no

 7   complaints from the field about how the inclusion of transgender service members caused

 8   problems for unit readiness or individual deployability. Although some transgender service

 9   members required medical procedures to treat their gender dysphoria that temporarily affected

10   their deployability, this is no different than the myriad medical reasons that any service member

11   might become temporarily non-deployable.

12            28.      I am also unaware of any complaints regarding unit cohesion resulting from

13   permitting transgender people to serve. Consistent with the military’s experience integrating

14   other previously excluded groups into the ranks, unit cohesion hangs on an individual’s ability to

15   do the job in front of them, rather than any concerns regarding identity. Transgender service

16   members have proven themselves able to serve and indeed are serving capably throughout the

17   military. To the extent their service has had any appreciable impact on unit cohesion, it has

18   improved unit cohesion by fostering greater openness and trust among team members.

19                                    RECENT REVERSAL OF POLICY

20            29.      On January 20, 2025, President Trump signed an executive order revoking the

21   January 25, 2021, executive order permitting equal service by transgender individuals. On

22   January 27, 2025, President Trump issued an executive order revoking “all policies, directives,

23   and guidance issued pursuant to” the order establishing that equal service policy and directing

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 1   the Department of Defense “to take all necessary steps to implement the revocations” in order to

 2   exclude transgender people from military service.

 3            30.      Such an abrupt reversal of established military policy is highly unusual, especially

 4   without a significant change in the analysis supporting the policy. As part of the 2015 Working

 5   Group, I can attest to the DOD’s lengthy review in deciding whether to adopt an equal service

 6   policy. The Working Group’s conclusion that transgender individuals should be allowed to serve

 7   on equal terms was the result of a rigorous process involving consultation with experts and

 8   military personnel. President Trump’s executive order reverses this carefully considered policy

 9   without any evidence that allowing transgender individuals to serve over the past four years

10   resulted in any negative impact whatsoever. The executive order claims that permitting

11   transgender individuals to serve harms military effectiveness and lethality and disrupts unit

12   cohesion; however, as the actual experience of transgender service shows, these claims have no

13   evidentiary basis.

14            31.      Prohibiting transgender individuals from serving in the military is harmful to the

15   military and to the public interest for several reasons.

16            32.      Erosion of Merit-Based Accession and Retention. The 2021 policy required the

17   Army to make accession and retention decisions based upon merit, not based upon a soldier’s

18   transgender status. This policy upheld an important tenet of military service: that anyone who

19   meets the necessary qualifications and raises their hand to serve should be allowed to serve. The

20   policy required transgender soldiers to meet the same high standards as all other soldiers. Under

21   the policy, transgender soldiers served with distinction. The recission of the policy and

22   implementation of the ban on transgender servicemembers means that an individual’s ability to

23   serve is not based on standards and merit but solely based on the outcome of a presidential

24   election.

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 1             33.     Uniformed service entails dedication and sacrifice—long hours, time away from

 2   home, and risk of injury or death are all part of that service. In return, the Nation promises those

 3   service members that we will honor their service and respect them. Summarily dismissing

 4   transgender service members without cause breaks the faith they placed in their leaders and the

 5   military as an institution. More broadly, it signals to all service members that their service could

 6   also end if they are determined to be members of a politically unpopular group. This sows

 7   division and undermines the unit cohesion that is absolutely essential for fighting forces to be

 8   effective.

 9             34.     Detriment to Recruitment. The military is competing for, and successfully

10   attracting talent in today’s robust job market. This success is due in large part to policies such as

11   the 2021 Austin Policy. Research shows that the vast majority of young people in our recruit

12   demographic (17-24 years old) do not want to be associated with institutions that are perceived

13   as discriminatory on the basis of race, sex, sexual orientation, religion, or gender identity. This

14   sudden reversal of policy will damage the reputation of the military and diminish its

15   attractiveness as a career path among the young people we most need to persuade to join our

16   ranks.

17             35.     Detriment to the Military. The Austin Policy was implemented following years

18   of thoughtful and careful planning by experts and stakeholders across the military. It takes into

19   account the medical needs of transgender service members and any associated impacts on their

20   ability to serve. Because of this careful planning, I am confident that allowing transgender

21   individuals to serve in the military and accommodating their medical needs is no greater a

22   burden on the military than the accommodation of all other service members’ medical needs. The

23   transgender population is so small that the impact of their medical needs on unit readiness is

24   virtually nonexistent. Moreover, many transgender individuals do not require extensive medical

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